                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            BRYSON CITY DIVISION
                                  2:12 cr 33-2


UNITED STATES OF AMERICA,                           )
                                                    )
Vs.                                                 )              ORDER
                                                    )
KENNETH ASHE,                                       )
                                                    )
                  Defendant.                        )
____________________________________                )


        THIS MATTER has come before the undersigned pursuant to the Government’s Motion

for an Order Finding the Defendant Waives the Attorney-Client Privilege (#112). This motion

was filed by the Government as an anticipatory motion. The reason the motion was filed was

due to a motion filed by Defendant to withdraw his plea of guilty. It appeared to the Government

that Defendant would either testify in regard to the hearing of the motion to withdraw his plea of

guilty or he would present as a witness, his prior attorney Mr. Rodney Hasty. The motion to

withdraw the plea of guilty was scheduled for hearing before the undersigned on October 31,

2013. At that time, Fredilyn Sison, counsel for Defendant, advised the Court that she wished to

withdraw the motion to withdraw the plea of guilty.     The motion was allowed. As a result of

that action, the Government’s Motion for an Order Finding the Defendant Waives the

Attorney-Client Privilege (#112) was rendered moot and should be denied.

                                            ORDER

        IT IS, THEREFORE, ORDERED that the Government’s Motion for an Order Finding

the Defendant Waives the Attorney-Client Privilege (#112) is hereby DENIED as being moot.




                                             1
      Case 2:12-cr-00033-MR-WCM          Document 127        Filed 11/04/13      Page 1 of 2
                                           Signed: November 4, 2013




                                2
Case 2:12-cr-00033-MR-WCM   Document 127   Filed 11/04/13        Page 2 of 2
